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B18 (Official Form 18) (12/07)

                                    United States Bankruptcy Court
                                                District of Connecticut
                                                   Case No. 10−51454
                                                       Chapter 7

In re Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Kyle Schappach                                            Diana Schappach
   86 Possum Drive                                           86 Possum Drive
   New Fairfield, CT 06812                                   New Fairfield, CT 06812
Social Security / Individual Taxpayer ID No.:
   xxx−xx−4941                                              xxx−xx−8522
Employer Tax ID / Other nos.:



                                           DISCHARGE OF DEBTOR

It appearing that the debtor is entitled to a discharge,

IT IS ORDERED:

The debtor is granted a discharge under section 727 of title 11, United States Code, (the Bankruptcy Code).



                                                            BY THE COURT

Dated: 7/27/11                                              Alan H.W. Shiff
                                                            United States Bankruptcy Judge



                    SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.
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B18 (Official Form 18) (12/07) − Cont.


                                  EXPLANATION OF BANKRUPTCY DISCHARGE
                                           IN A CHAPTER 7 CASE

             This court order grants a discharge to the person named as the debtor. It is not a dismissal of the case and
it does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

            The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For
example, a creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to
attach wages or other property, or to take any other action to collect a discharged debt from the debtor. [In a case
involving community property: There are also special rules that protect certain community property owned by the
debtor's spouse, even if that spouse did not file a bankruptcy case.] A creditor who violates this order can be required
to pay damages and attorney's fees to the debtor.

             However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest,
against the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case.
Also, a debtor may voluntarily pay any debt that has been discharged.

Debts That are Discharged

            The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged.
Most, but not all, types of debts are discharged if the debt existed on the date the bankruptcy case was filed. (If this
case was begun under a different chapter of the Bankruptcy Code and converted to chapter 7, the discharge applies to
debts owed when the bankruptcy case was converted.)

Debts That are Not Discharged

      Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

      a. Debts for most taxes;

      b. Debts incurred to pay nondischargeable taxes;

      c. Debts that are domestic support obligations;

      d. Debts for most student loans;

      e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

      f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft
      while intoxicated;

      g. Some debts which were not properly listed by the debtor;

      h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are not
      discharged;

      i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in
      compliance with the Bankruptcy Code requirements for reaffirmation of debts; and

      j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift Savings
      Plan for federal employees for certain types of loans from these plans.



             This information is only a general summary of the bankruptcy discharge. There are exceptions to
these general rules. Because the law is complicated, you may want to consult an attorney to determine the
exact effect of the discharge in this case.
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                                                United States Bankruptcy Court
                                                   District of Connecticut
 In re:                                                                                                     Case No. 10-51454-ahws
 Kyle Schappach                                                                                             Chapter 7
 Diana Schappach
          Debtors
                                                  CERTIFICATE OF NOTICE
 District/off: 0205-5                  User: admin                        Page 1 of 1                          Date Rcvd: Jul 27, 2011
                                       Form ID: B18                       Total Noticed: 22


 Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
 Jul 29, 2011.
 db/db         +Kyle Schappach,    Diana Schappach,    86 Possum Drive,   New Fairfield, CT 06812-5017
 cr            +State of Connecticut,    Department of Revenue Services,    25 Sigourney Street, Suite 2,
                 Hartford, CT 06106-5032
 7353489       +America’s Servicing Company,    P. O. Box #1820,    Newark, NJ 07101-1820
 7404491       +CANDICA L.L.C.,    co Weinstein and Riley ,PS,    2001 Western Avenue, STE 400,
                 Seattle, WA 98121-3132
 7378023       +CitiMortgage, Inc.,    PO Box 140609,    Irving, TX 75014-0609
 7353493        Citimortgage, Inc.,    P. O. Box 8003,    South Hackensack, NJ 07606
 7353494        Exxon/Mobil,    P.O. Box 4598,   Carol Stream, IL 60197-4598
 7370354       +HSBC Bank Nevada, N.A.,    by PRA Receivables Management, LLC,    PO Box 12907,
                 Norfolk VA 23541-0907
 7491636        Mortgage Electronic Registration Systems,     C/O America’s Servicing Company,
                 Post Office Box #1820,    Newark, NJ 07101-1820
 7412548        State of Connecticut,    Department of Revenue Services,    C&E Division, Bankruptcy Unit,
                 25 Sigourney Street,    Hartford, CT 06106-5032
 7353497       +Sunoco,   Processing Center,    PO Box 689153,    Des Moines, IA 50368-9153

 Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
 cr            EDI: RMSC.COM Jul 27 2011 18:58:00      GE Money Bank,   c-o Recovery Management Systems Corp.,
                25 SE 2nd Avenue, Suite 1120,    Miami, FL 33131-1605
 7353490       EDI: HNDA.COM Jul 27 2011 18:58:00      American Honda Finance Corp.,    P. O. Box #1844,
                Alpharetta, GA 30023
 7418642       EDI: HNDA.COM Jul 27 2011 18:58:00      American Honda Finance Corporation,
                National Bankruptcy Center,   P.O. Box 168088,    Irving, TX 75016-8088
 7353491      +EDI: BANKAMER2.COM Jul 27 2011 18:58:00      Bank of America,    P. O. Box #15726,
                Wilmington, DE 19886-5726
 7353492       EDI: CAPITALONE.COM Jul 27 2011 18:58:00      Capital One Bank,    Post Office Box #70884,
                Charlotte, NC 28272-0884
 7415902      +EDI: BANKAMER.COM Jul 27 2011 18:58:00      Fia Card Services, NA As Successor In Interest to,
                Bank of America NA and Mbna America Bank,    1000 Samoset Drive,    DE5-023-03-03,
                Newark, DE 19713-6000
 7447455       EDI: RMSC.COM Jul 27 2011 18:58:00      GE Money Bank,   Attn: Bankruptcy Department,
                PO Box 960061,   Orlando FL 32896-0661
 7389662       EDI: RMSC.COM Jul 27 2011 18:58:00      GE Money Bank,   c/o Recovery Management Systems Corp.,
                Attn: Ramesh Singh,   25 S.E. 2nd Avenue, Suite 1120,     Miami, FL 33131-1605
 7353495      +EDI: HFC.COM Jul 27 2011 18:58:00      HSBC Card Services,    P. O. Box #5213,
                Carol Stream, IL 60197-5213
 7420066      +EDI: PRA.COM Jul 27 2011 18:58:00      PRA Receivables Management, LLC,
                As Agent Of Portfolio Recovery Assocs.,    POB 41067,   Norfolk VA 23541-1067
 7353496      +EDI: SEARS.COM Jul 27 2011 18:58:00      Sears Card,   P. O. Box #6924,    The Lakes, NV 88901-6924
                                                                                               TOTAL: 11

               ***** BYPASSED RECIPIENTS *****
 NONE.                                                                                                               TOTAL: 0

 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.




I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Jul 29, 2011                                       Signature:
